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            10
            11                                     UNITED STATES DISTRICT COURT

            12                                 NORTHERN DISTRICT OF CALIFORNIA

            13
            14       WHATSAPP INC., a Delaware corporation,        Case No. 3:19-cv-07123-JSC
                     and FACEBOOK, INC., a Delaware
            15       corporation,                                  PLAINTIFFS’ REQUEST FOR JUDICIAL
                                                                   NOTICE IN SUPPORT OF APPLICATION
            16                                                     FOR ENTRY OF DEFAULT
                                     Plaintiffs,
            17                                                     Hon. Jacqueline S. Corley
                           v.
            18
                     NSO GROUP TECHNOLOGIES LIMITED
            19       and Q CYBER TECHNOLOGIES LIMITED,

            20                       Defendants.

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ATTO RNEY S AT LAW                                             1            PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE
 SAN FRA NCI S CO                                                                        CASE NO. 3:19-CV-07123-JSC
                           Case 4:19-cv-07123-PJH Document 21 Filed 02/27/20 Page 2 of 3



              1             Plaintiffs WhatsApp Inc. and Facebook, Inc. request that the Court take judicial notice of the

              2      documents attached as Exhibits 1 through 3 under Rule 201 of the Federal Rules of Evidence and the

              3      authorities cited below.

              4      I.     BASIS FOR REQUESTING JUDICIAL NOTICE

              5             Courts may take judicial notice of matters of public record if the facts are not subject to

              6      reasonable dispute. Lee v. City of L.A., 250 F.3d 668, 688–89 (9th Cir. 2001). Public websites are

              7      also proper subjects for judicial notice where, as here, the parties do not challenge the authenticity of

              8      the website or claim that the information is inaccurate. See, e.g., Crandall v. Starbucks Corp., 249 F.

              9      Supp. 3d 1087, 1099 (N.D. Cal. 2017) (Corley, J.) (taking judicial notice of websites where the

            10       plaintiff had not “challenged the authenticity of the websites or maintained that the information is

            11       inaccurate”); see also Pac. Overlander, LLC v. Kauai Overlander, No. 18-CV-02142-KAW, 2018

            12       WL 3821070, at *2 (N.D. Cal. Aug. 10, 2018) (taking judicial notice of the defendant’s website).

            13              The Court may also take judicial notice of archived websites—that is, accurate copies of

            14       original websites that are catalogued and accessible on archival platforms like archive.org (the

            15       “Wayback Machine”). Erickson v. Neb. Mach. Co., No. 15-cv-1147-JD, 2015 WL 4089849, at *1

            16       n.1 (N.D. Cal. Jul. 6, 2015) (“Courts have taken judicial notice of the contents of web pages

            17       available through the Wayback Machine as facts that can be accurately and readily determined from

            18       sources whose accuracy cannot reasonably be questioned.”) (citations omitted); Tompkins v.

            19       23andMe, Inc., Nos. 13-cv5682, 14-cv-0294, et al., 2014 WL 2903752, at *1 n.1 (N.D. Cal. Jun. 25,

            20       2014) (“the Court takes judicial notice of the Internet Archive (http://archive.org) version of

            21       23andMe’s website as of November 20, 2013”).

            22              Accordingly, Plaintiffs request judicial notice of the following:

            23              1.      Exhibit 1: A true and correct copy of a press release published online by NSO Group

            24       on October 29, 2019, available at https://www.prnewswire.com/news-releases/nso-group-statement-

            25       on-facebook-lawsuit-300947701.html and archived at

            26       https://web.archive.org/web/20191209233631/https://www.prnewswire.com/news-releases/nso-

            27       group-statement-on-facebook-lawsuit-300947701.html.

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ATTO RNEY S AT LAW                                                     2            PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE
 SAN FRA NCI S CO                                                                                CASE NO. 3:19-CV-07123-JSC
                           Case 4:19-cv-07123-PJH Document 21 Filed 02/27/20 Page 3 of 3



              1                2.     Exhibit 2: A true and correct copy of the “Board of Directors” page on NSO Group’s

              2      website, available at https://www.nsogroup.com/about-us/board-of-directors/ and archived at

              3      http://web.archive.org/web/20191228031914/https://www.nsogroup.com/about-us/board-of-

              4      directors/.

              5                3.     Exhibit 3: A true and correct copy of a public filing under the Foreign Agents

              6      Registration Act by Mercury Public Affairs, LLC, dated January 6, 2020, available at

              7      https://efile.fara.gov/docs/6170-Exhibit-AB-20200106-74.pdf and archived at

              8      http://web.archive.org/web/20200211030407/https://efile.fara.gov/docs/6170-Exhibit-AB-20200106-

              9      74.pdf.

            10       II.       CONCLUSION

            11                 Plaintiffs respectfully request that the Court take judicial notice of the attached Exhibits 1

            12       through 3.

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                     Dated: February 27, 2020                         Respectfully submitted,
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                                                                      COOLEY LLP
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                                                                       /s/ Travis LeBlanc
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ATTO RNEY S AT LAW                                                        3            PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE
 SAN FRA NCI S CO                                                                                   CASE NO. 3:19-CV-07123-JSC
